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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     JEREMIAH THEDE,
                                                                                         Case No. 17-cv-03528-PJH
                                   8                   Plaintiff,

                                   9             v.                                      ORDER DISMISSING ACTION WITH
                                                                                         PREJUDICE FOR FAILURE TO
                                  10     UNITED AIRLINES, INC.,                          PROSECUTE
                                  11                   Defendant.                        Re: Dkt. No. 73, 75, 78

                                  12
Northern District of California
 United States District Court




                                  13          On January 12, 2021, the court ordered plaintiff to show cause why this action
                                  14   should not be dismissed for failure to prosecute under Rule 41(b). Dkt. 78 at 3. In it, the
                                  15   court detailed plaintiffs’ failure to comply with his discovery obligations, failure to appear
                                  16   or retain substitute counsel, failure to appear for his various noticed and ordered
                                  17   depositions, and general failure to litigate this action. Id. at 1-3. The court permitted
                                  18   plaintiff until January 22, 2021 to file a response addressing these failures. Id. at 3-4.
                                  19   The court specifically cautioned plaintiff that, if he neglected to do so, the court will
                                  20   dismiss this action with prejudice for failure to comply with its prior orders and failure to
                                  21   prosecute under Rule 41(b). Id. at 4. The court further ordered defendant to immediately
                                  22   serve plaintiff with a copy of its January 12, 2021 order, id., which defendant did by post-
                                  23   mail that same day, Dkt. 79.
                                  24          The court also ordered plaintiff’s former counsel, Michael S. Danko and his law
                                  25   firm Danko Meredith (collectively, “attorney Danko”), to file a certification showing its
                                  26   compliance with the court’s November 25, 2020 order requiring that it forward to plaintiff
                                  27   all filings made in this action between November 25, 2020 and December 31, 2020. Dkt.
                                  28   78 at 3. On January 14, 2021, attorney Danko filed a declaration showing its compliance
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                                   1   with that requirement. Dkt. 80 ¶¶ 4-10.
                                   2          To date, despite the above-referenced service by counsels in this action,
                                   3   plaintiff has failed to file any response to the court’s orders. Given that failure, the
                                   4   court DISMISSES this action WITH PREJUDICE for failure to prosecute.
                                   5          IT IS SO ORDERED.
                                   6   Dated: January 21, 2021
                                   7                                                   /s/ Phyllis J. Hamilton
                                                                                     PHYLLIS J. HAMILTON
                                   8                                                 United States District Judge
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Northern District of California
 United States District Court




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